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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

United States of America, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03010-APM

v.                                                  HON. AMIT P. MEHTA

Google LLC,

                               Defendant.



State of Colorado, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03715-APM

v.                                                  HON. AMIT P. MEHTA

Google LLC,

                               Defendant.



                                    JOINT STATUS REPORT

        In accordance with the Court’s Minute Order of May 27, 2021, the parties in State

of Colorado v. Google LLC submit the following Joint Status Report to update the Court

on their progress concerning Plaintiff States’ data requests.

        The parties have continued to confer on issues related to Plaintiff States’ data

requests since the last status conference on May 27. The parties intend to continue the

meet-and-confer process over the next few days and have committed to exchange

additional information in the interest of resolving or narrowing any points of dispute. The

parties propose to file an update, including as necessary position statements regarding any

unresolved issues, on Wednesday, June 16.




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Dated: June 10, 2021

                                        Respectfully submitted,



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